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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  NETLIST, INC.,

                  Plaintiff,
                                                    Civil Action No. 2:22-CV-203-JRG-RSP
  v.
                                                          JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC., MICRON
  SEMICONDUCTOR PRODUCTS, INC., AND
  MICRON TECHNOLOGY TEXAS LLC,

                  Defendants.


                         JOINT NOTICE OF AGREED MEDIATOR

        Plaintiff Netlist, Inc. and defendants Micron Technology, Inc., Micron Semiconductor

 Products, Inc., and Micron Technology Texas LLC hereby notify the Court that the parties have

 met and conferred and agree upon the Honorable David Folsom as the mediator in this matter.

 The Honorable David Folsom’s information is as follows:

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                                  Email: david@folsomadr.com

        The parties are amenable to mediation with Judge Folsom at a time convenient for the

 parties and Judge Folsom.


  Dated: December 4, 2023                          Respectfully submitted,

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                                         Micron Semiconductor Products,
                                         Inc., and Micron Technology Texas,
                                         LLC




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